        Case 15-12959     Doc 109    Filed 04/23/18    Entered 04/23/18 11:43:22   Desc Main
                                UNITED STATES BANKRUPTCY
                                     Document    Page 1 of 1COURT
                                   DISTRICT OF MASSACHUSETTS
                                  Proceeding Memorandum/Order

In Re: Terry T Cousin                                               Case/AP Number 15-12959 -FJB
                                                                    Chapter 13

       #102 Chapter 13 Trustee's Motion for Order Dismissing Case for Failure to Make Plan
       Payments with certificate of service and proposed order.. Objections due by 04/16/2018.
       (Bankowski-13-12, Carolyn)




COURT ACTION:
_________Hearing held
_________Granted    __________ Approved ___________ Moot
_________ Denied    __________ Denied without prejudice      __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order    __________Released     ___________Enforced

DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

Withdrawn.




                                           IT IS SO ORDERED:




                                                                                  04/23/2018
                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
